          Case 1:22-cr-00200-APM Document 61-5 Filed 11/02/22 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                   :
                                           :
               v.                          :
                                           :       Crim. No. 22-cr-200 (APM)
PETER K. NAVARRO,                          :
                                           :
                      Defendant.           :

                                    Government Exhibits


Ex. No.        Description of Exhibit      Marked     Received      Witness    Ex. Sent to
                                           for I.D.      in                       Jury
                                                      Evidence                 (date/time)


  1         House Resolution 503


  2         February 9, 2022, Subpoena
            to Peter Navarro with
            attachments


  3         Executed Proof of Service


  4         February 9, 2022, and
            February 24, 2022, emails
            between Daniel George and
            Peter Navarro


  5         February 27, 2022, emails
            between Daniel George and
            Peter Navarro


  6         February 28, 2022, and March
            1, 2022, emails between
            Daniel George and Peter
            Navarro




                                               1
    Case 1:22-cr-00200-APM Document 61-5 Filed 11/02/22 Page 2 of 2




7     March 2, 2022, Transcript of
      Deposition Before the Select
      Committee




                                     2
